

People v Liu (2023 NY Slip Op 50302(U))



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People v Liu (Zenglin)


2023 NY Slip Op 50302(U) [78 Misc 3d 130(A)]


Decided on March 31, 2023


Appellate Term, Second Department


Published by New York State Law Reporting
Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be
published in the printed Official Reports.



Decided on March 31, 2023
SUPREME COURT, APPELLATE TERM, SECOND
DEPARTMENT, 2d, 11th and 13th JUDICIAL DISTRICTS
PRESENT: : CHEREÉ A. BUGGS, J.P., LISA S. OTTLEY, LOURDES M.
VENTURA, JJ



2021-92 Q CR

The People of the State of New
York, Respondent,
againstZenglin Liu, Appellant. 




Appellate Advocates (Anna Kou of counsel), for appellant.


Queens County District Attorney (Johnnette Traill and Mariana Zelig of counsel), for
respondent.

Appeal from a judgment of the Criminal Court of the City of New York, Queens
County (Toni M. Cimino, J.), rendered March 11, 2019. The judgment convicted
defendant, upon his plea of guilty, of harassment in the second degree, and imposed
sentence. Assigned counsel has submitted a brief in accordance with Anders v California
(386 US 738 [1967]), seeking leave to withdraw as counsel.




ORDERED that the judgment of conviction is affirmed.
We are satisfied with the sufficiency of the brief filed by defendant's assigned
counsel pursuant to Anders v California (386 US 738 [1967]), and, upon an
independent review of the record, we conclude that there are no nonfrivolous issues
which could be raised on appeal. Counsel's application for leave to withdraw as counsel
is, therefore, granted (see id.; People v Murray, 169 AD3d 227
[2019]; Matter of Giovanni S. [Jasmin A.], 89 AD3d 252 [2011]; People v
Paige, 54 AD2d 631 [1976]; cf. People v Gonzalez, 47 NY2d 606
[1979]).
BUGGS, J.P., OTTLEY and VENTURA, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: March 31, 2023









